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                           OFFICE OF SPECIAL EDUCATION
               SPECIAL EDUCATION COMPLAINT INVESTIGATION REPORT

 Complainant:                                         Case Number: 17-0159




                                                       COMPLAINT DECISION
                                                              AND
 Public Agency:
                                                            PLAN FOR
 Michigan Department of Education
                                                        CORRECTIVE ACTION
 Office of Special Education
 Joanne Winkelman, Ph.D.,Supervisor
 Program Accountability
 608 West Allegan
 PO Box 30008
 Lansing, MI 48909

 District:
 Michael Rice, District Superintendent
 Kalamazoo Public Schools
 1220 Howard St
 Kalamazoo, MI 49008-1882

 Case Manager:
 Terri Noyes

 Date of Decision:
 August 29, 2017

 On June 30, 2017, the Michigan Department of Education, Office of Special
 Education (OSE) received a special education complaint filed by
 (Complainant) on behalf of                  . The complaint alleged that the
 Kalamazoo Public Schools (District), which is under the jurisdiction of the Michigan
 Department of Education (MDE), violated the Individuals with Disabilities Education
 Act (IDEA) and the Michigan Administrative Rules for Special Education (MARSE).

 <br><br>Complaints may be filed by any individual or organization, in accordance
 with 34 CFR § 300.153. The Complainant in this matter is a third party. A release
 of information from the Student’s parent was submitted; therefore, the OSE was
 able to communicate directly with the third party during the investigation of this
 complaint.<br><br>Pursuant to the Code of Federal Regulations 34 CFR §§
 300.151 through 300.153 implementing the IDEA, the OSE conducted an
 investigation into the allegations in this complaint. Consistent with the IDEA and
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 Federal Regulations, and the MARSE, the OSE issues the following Findings of Fact,
 Conclusions, Decision and Plan for Corrective Action.<br>

 Complaint Issues:
 1.     Whether the District provided the Student a free appropriate public
        education (FAPE) pursuant to 34 CFR §§300.17 and 300.101. Specifically:
        a.    Whether the District enacted their Child Find obligation, to locate,
              identify, and evaluate students suspected of a disability for this
              Student, in accordance with 34 CFR §§ 300.111, 300.304 through
              300.311 and R 340.1721a; and


               i.       For all similarly situated students within the District.


        b.     Whether the District implemented the discipline protections,
               pursuant to 34 CFR §§ 300.530 and 300.536, for this Student; and


               i.       For all similarly situated students within the District.


        c.     Whether the District, in collaboration with the Parent, developed,
               reviewed, and revised an individualized education program (IEP) that
               addressed the unique educational and behavioral needs of the
               Student in an IEP team meeting, consistent with 34 CFR §§
               300.116(a), 300.320 through 300.324, 300.501(c), and R
               340.1721e.


 2.     Whether the District followed the procedures and processes required by the
        IDEA and the MARSE. Specifically:
        a.    Whether the District obtained informed consent from the Parent prior
              to conducting the initial evaluation to determine if the Student was a
              student with a disability, in accordance with 34 CFR § 300.300(a)
              and R 340.1721.


 Investigatory Process:
 Documents reviewed include:
        Original letter of complaint;
        Documentation provided by the Complainant; and
        Documentation and educational records provided by the District.
 Interviews were conducted with the following:
        The Complainant;
        The Parent;
        The community mental health worker; and
        Various District staff via questionnaires.




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 The OSE provided the District and Complainant the opportunity to submit additional
 information for consideration during the investigation of this complaint.

 Applicable Federal Regulations or State Rules:
 34 CFR §300.15                 Evaluation
 34 CFR §300.17                 Free appropriate public education
 34 CFR §300.22                 Individualized education program
 34 CFR §300.101                Free appropriate public education (FAPE)
 34 CFR §300.111                Child find
 34 CFR §300.114                Least restrictive environment requirements
 34 CFR §300.116                Placements
 34 CFR §300.300                Parental consent
 34 CFR §300.501                Opportunity to examine records; parent participation in
                                meetings
 34 CFR §300.530                Authority of school personnel
 34 CFR §300.536                Change of placement because of disciplinary removals
 R 340.1721                     Request for Initial Evaluation
 R 340.1721a                    Initial Evaluation
 R 340.1721e                    Individualized education program

 Relevant Time Period:
 Pursuant to 34 CFR § 300.153(c), the OSE has the authority to investigate
 allegations of violations that occurred not more than one year from the date the
 complaint was received. In light of this limitation, the investigation will be limited
 to the period of time from July 1, 2016 to June 30, 2017 for the purpose of
 determining if a violation of the IDEA or the MARSE occurred. However, records
 beyond this timeframe may be reviewed for the purpose of developing a complete
 record for the student.

 Findings of Fact:
 1.     This state complaint included both child specific and systemic issues.
        The findings for the systemic investigation are at the end of this section,
        following the facts specific to the Student.
 2.     The Student is an eight-year-old student with a number of mental and
        physical health issues, including attention deficit hyperactivity disorder,
        anxiety, mood dysregulation, post-traumatic stress disorder, asthma,
        and juvenile arthritis. According to the Parent, this information was
        shared with the school as far back as the 2015-2016 school year.
 3.     Beginning at the start of the 2015-2016 school year, the Student
        attended a different building within the District. At some point during
        January or February 2016, according to a behavior incident report and
        an incident detail report, the Student switched school buildings,
        attending school at the same building the Student was in at the
        beginning of the 2016-2017 school year.
 4.     According to the Student’s 2015-2016 attendance record, once the
        Student switched buildings, beginning on February 5, 2016, the Student
        exhibited behaviors that included fighting, assault, and property
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        destruction seven times, which resulted in a total of 10 days of
        suspension by the end of the 2015-2016 school year.
 5.     Two behavior plans were developed for the Student during the
        2015-2016 school year, in cooperation with the Parent:
        a.    The first behavior plan, dated December 16, 2015, was developed
              at the building the Student attended at the beginning of the
              2015-2016 school year, which is verified by the staff listed on the
              behavior plan. Problem behaviors were listed and included anger
              outbursts, destruction of property, threats/swearing, and
              attempted injury to those restraining him. The plan also included
              other data (background information), a hypothesis statement,
              appropriate behaviors, and positive behavioral interventions to use
              with the Student, techniques for teaching appropriate behavior,
              consequences to increase appropriate behaviors and decrease
              inappropriate behaviors, and a crisis plan.
        b.    The second behavior plan was developed at the building the
              Student moved sometime prior to February 5, 2016 and was
              enrolled in at the start of the 2016-2017 school year, which was
              verified by the staff listed on the behavior plan. The second
              behavior plan did not outline problem behaviors, a hypothesis
              statement for the function of behavior, or appropriate
              behaviors/teaching techniques for appropriate behavior. Rather the
              second behavior plan was only a plan of action for the Student that
              outlined consequences for behavior, including that the Parent
              would be provided with a copy of the Code of Student Conduct to
              explain what behaviors would result in the Student being sent
              home.
 6.     The Student entered the second grade in the fall of the 2016-2017
        school year. Soon after the beginning of the school year, on September
        16, 2016, the Student began to receive referrals for behavior on the
        school bus. According to a bus referral form for this date, the Student
        was defiant and was not following the directions of the bus driver. The
        consequence was a conference with the Student.
        a.    According to the District, the District’s 2016-2017 Transportation
              Handbook outlined all school rules and regulations that apply when
              students are under the jurisdiction of the school. The
              Transportation Handbook detailed the range of consequences to
              the violations of the Student Code of Conduct. “If a specific
              consequence is not stated for a violation of a particular rule, then
              reasonable disciplinary actions may be taken. All actions are at the
              discretion of administration and/or a designee. Actions may range
              from a verbal warning to a recommendation for expulsion
              depending on the nature and severity of the offense, the prior
              behavior records for the student, the recommendation of school
              personnel and other relevant circumstances. The bus drivers do
              not determine bus suspensions. That is determined by the building
              administrator and/or designee.”

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 7.     On September 20, 2016, the Parent requested that the District evaluate
        the Student for special education, citing concerns with attention, focus,
        and anxiety and the impact these concerns had on the Student’s
        behavior in school.
        a.     According to the District, the Student’s evaluations began almost
               immediately, with the District staff completing observations and
               testing on October 17, 19, 24 and 31, 2016.
 8.     Also, on September 20, 2016, according to a bus referral form, the
        Student engaged in fighting and physical aggression with peers in a bus
        loading zone. The consequence was not listed on the form; however, the
        Parent called the District on September 21, 2016, concerning the
        incident.
 9.     On September 27, 2016, according to a bus referral form, the Student
        engaged in fighting and physical aggression with peers while on the
        school bus. No consequence was listed.
 10.    On October 4, 2016, according to a bus referral form, the Student
        engaged in fighting and physical aggression with peers while on the
        school bus. No consequence was listed. According to what was written
        on the referral form, the Student was not safe to transport as he refused
        to cooperate with the bus driver.
 11.    On October 5, 2016, the District conducted a review of existing
        evaluation data and developed an evaluation plan. The review of existing
        evaluation data indicated:
        a.     The Parent expressed concerns with the Student’s attention, focus,
               and anxiety affecting his behaviors in class, which in turn was
               interfering with his ability to be successful at school.
        b.     The classroom-based assessments and observations included
               information from the Student’s teacher, who reported that the
               Student was a diligent worker who completed all his academic
               tasks at a high level. He also reported that the Student was a very
               active participant in class, seemed to enjoy school, and was very
               helpful to others. The teacher reported that the only area he had
               any concerns about at that time was the Student’s reading
               fluency.
        c.     The Student’s first grade report card indicated that he struggled
               with his work habits (staying on task, demonstrating effort,
               working without disturbing others, completing and returning
               homework), as well as with life skills (respecting others, respecting
               authority, following rules, showing self-control, taking initiative);
               and did well in mathematics and science. However, for reading and
               writing, the Student was rated as "guidance needed to perform at
               grade level/progressing with assistance.”
        d.     Attendance records identified 34 absences in Kindergarten and 38
               absences for first grade.
        e.     The general education teacher further reported that there had been
               a few incidents of aggression towards authority if the Student did
               not get what he wanted. Additionally, the Student tended to

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               interact with most of the other students in his classroom, however
               there were some issues with peers during less structured settings.
               The school bus was not mentioned.
        f.     The Parent input section indicated:
               i.     The Parent provided documentation for medical diagnoses
                      from Community Mental Health, including disruptive mood
                      dysregulation disorder, post-traumatic stress disorder, and
                      attention deficit hyperactivity disorder.
                ii.   The Parent reported that the Student struggled to pay
                      attention, stay focused, and he constantly needed to be
                      redirected.
                iii.  The Parent further reported that the Student could not do
                      homework at home with his siblings’ present because he
                      would get too distracted.
                iv.   The Parent also reported that the Student was very good at
                      math, but struggled with his reading because he had a hard
                      time focusing on what he was reading, unless there was
                      someone there to constantly redirect his focus. The Parent also
                      reported that the Student had previously struggled with his
                      behavior in school.
        g.      The evaluation plan included achievement (formal and informal
                academic assessments) and socio-emotional/behavioral (classroom
                observations).
        h.      The written notice indicated that options that were considered but
                not selected included waving the evaluation. This was not selected
                because it did not meet the Student’s need as additional data was
                needed.
        i.      According to the District, at the time that the Parent made the
                request for a special education evaluation (September 26, 2016),
                the school year and period covered by this complaint had only
                been 15 school days old and the Student had no behaviors of
                concern. The Student was in a new school as of the beginning of
                that school year and presented with no concerns.
 12.    On October 10, 2016, according to a bus referral form, the Student
        engaged in fighting and physical aggression with the bus driver while on
        the school bus. According to what was written on the referral form the
        Student was climbing seats, ignoring directions and hit a fellow student.
        No consequence was listed.
 13.    On October 20, 2016, according to a bus referral form, the Student
        engaged in fighting and physical aggression with peers while on the
        school bus. According to what was written on the referral form, the
        Student threw his backpack at a fellow student and there was on-going
        aggression being shown towards fellow students. No consequence was
        listed.
 14.    On October 24, 2016, an IEP team meeting invitation was sent to the
        Parent. The purpose of the meeting was listed as determining or
        reviewing this Student’s eligibility for special education
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        programs/services.
 15.    Also on October 24, 2016, according to a bus referral form, the Student
        engaged in fighting and physical aggression with peers while on the
        school bus. No consequence was listed.
 16.    On November 1, 2016, according to a bus referral form, while on the
        way to school in the morning, the Student was defiant and not following
        the directions of the bus driver. According to the referral form, he was
        doing flips in his seat. No consequence was listed on the form. Later that
        day according to an incident detail form, while at recess, the Student
        physically assaulted a peer while on the playground. According to the
        pattern of behavior determination worksheet, the Student was
        suspended for one day.
 17.    On November 9, 2016, according to an incident detail form, in the
        morning, the Student attempted to physically assault staff, threw
        objects at staff and peers, and destroyed multiple bulletin boards
        throughout the school. According to the worksheet, the Student was
        suspended for three days.
 18.    In the afternoon of November 9, 2016, following the behaviors of the
        Student that morning, the District developed a multidisciplinary
        evaluation team report that included the following:
        a.     Reason for referral: Parent concerns included the Student’s
               inability to focus and pay attention, as well as anxiety affecting his
               behaviors in class and his ability to learn in his current academic
               environment.
        b.     Tests administered: Wechsler Individual Achievement Test-third
               edition, Grey Oral Reading Tests-fifth edition, AIMSweb Written
               Expression, AIMSweb Oral Reading Fluency, AIMSweb Nonsense
               Word Fluency, Designing Effective Math Instruction Assessment,
               Words Their Way Spelling Inventory, and the Dolch Sight Word
               Assessment.
        c.     Medical Information - Current: Mental health diagnoses of
               disruptive mood dysregulation disorder, post-traumatic stress
               disorder, and attention deficit hyperactivity disorder. The Student
               also utilized an inhaler due to asthma and received medication for
               attention deficit hyperactivity disorder, which the Student had not
               begun taking at that time.
        d.     Background information: Concerns of the Parent involved sibling
               interactions, impact of surgery on his ears/hearing, and
               hyperactivity. The Parent also reported that the area that she is
               most concerned with is his inability to stay focused in school. The
               Parent further reported that her goal for the Student this year was
               for him to stay in school and learn, and for him not to be sent
               home.
        e.     Teacher report: The teacher reported that the Student was a very
               diligent worker in class and was always academically engaged.
               However, during unstructured time was when he had the most
               issues with peers. The Student also could be aggressive towards

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               authority to test them or if he did not get what he wanted. During
               unstructured settings (such as on the bus, at lunch or at recess) is
               where the Student was having the majority of behavioral
               problems.
        f.     Classroom observations: Two observations were completed by the
               school psychologist on two different days. The first observation
               was conducted during an unknown classroom instruction and work
               completion time. The second observation was conducted during
               physical education. Another observation was conducted by the
               school social worker during math class. For all observations, the
               Student appeared to be on task, engaged in instruction, and
               compliant to redirection. No behaviors were displayed.
        g.     Individual testing: Results indicated for each test:
               i.       Wechsler Individual Achievement Test-third edition: Below
                        average in word reading, pseudoword decoding, and basic
                        reading subtests. The Student may need some extra practice
                        with decoding sounds and words to be able to function at the
                        same level as his same age peers.
               ii.      Grey Oral Reading Tests-fifth edition: Below average in rate
                        and fluency subtests. Overall, the Student’s oral reading
                        fluency skills were slightly lower than the majority of his same
                        age peers.
               iii.     AIMSweb Written Expression: The scores suggested that the
                        Student's written expression skills were within the average to
                        above average range when compared with his same grade
                        peers.
               iv.      AIMSweb Oral Reading Fluency: The scores suggest that the
                        Student's accuracy of decoding needs some improvement.
                        However, his overall oral reading fluency seems to be within
                        the average range of ability for a student of the same age and
                        grade as the Student.
               v.       AIMSweb Nonsense Word Fluency: The Student was able to
                        successfully decode 77 out of the 86 sounds that were read
                        within one minute and this was within the average range
                        compared to peers in the same grade.
               vi.      Designing Effective Math Instruction Assessment: This test
                        was an overall representation of the Student’s math skills. The
                        skills that were not demonstrated were all second-grade
                        computation skills (addition two digit, subtraction two digit,
                        and multiplication one and two digit).
               vii.     Words Their Way Spelling Inventory: The spelling list
                        consisted of 25 words of increasing difficulty. For the Student,
                        only the first 15 words were administered. The Student was
                        able to correctly spell 4 out of the 15 words presented to him.
                        The Student’s performance suggested that his spelling skills
                        are appropriate for a student of his age.
               viii.    The Dolch Sight Word Assessment: The Student was able to
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                     read a list of sight words beginning at the pre-primer
                     (97.5%), primer (90%), first grade (88%), and second grade
                     (72%) levels. These scores suggest that the Student has a
                     good fund of knowledge of sight words, but may still need to
                     work on the accuracy of his decoding.
        h.     Guidelines and eligibility: Standards were reviewed relative to
               emotional impairment and other health impairment and included
               the following statements in response to each standard:
               i.    Emotional Impairment:
                        a)   “Based on observations from both the school
                             psychologist and school social worker, as well as a
                             review of school discipline records, the Student does
                             not appear to exhibit behavior problems in school at
                             this time that adversely affect his academic
                             performance. In previous school years, the Student
                             demonstrated behaviors that resulted in discipline
                             referrals, however during this school year, the Student
                             has had minimal discipline incidents and does not
                             appear to be exhibiting behavioral problems that are
                             adversely impacting his education.”
                        b)   “The Student is able to build and maintain peer
                             relationships, he does not exhibit inappropriate types
                             of behaviors or feelings under normal circumstances,
                             he is generally a happy young man, and he does not
                             demonstrate any physical symptoms or fears
                             associated with school or personal problems.”
                        c)   “The Student does not have a diagnosis of
                             schizophrenia, and there were no indications that the
                             Student was socially maladjusted.”
                        d)   “The Student’s intellectual functioning appeared to be
                             within normal limits. His writing and mathematics
                             skills were well within the average range for a student
                             of his age, and his reading skills were within the below
                             average range of functioning.”
                        e)   “There are no reports of the Student demonstrating
                             any problems with adaptive behavior in the
                             community.”
                        f)   “During observations by both the school psychologist
                             and school social worker, there were no behaviors of
                             primary concern that were exhibited that appeared to
                             interfere with educational and social needs.
                             Additionally, the Student's teacher did not report any
                             behaviors of primary concern in the classroom.”
                        g)   “The Student has diagnoses of disruptive mood
                             dysregulation disorder, post-traumatic stress disorder,
                             and attention deficit/hyperactivity disorder.”
                        h)   “The Student missed 19 full school days during his
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                                first-grade school year, and 12 full school days during
                                his Kindergarten year. The Student is performing
                                within the average range with his mathematics skills,
                                however his reading skills are slightly below average,
                                which could be attributed to missing a high number of
                                school days over his educational career.”
                         i)     The determination statement included language taken
                                from the MARSE rule, 340.1706(5) which indicated
                                that the multidisciplinary evaluation team included the
                                following members: School psychologist, school social
                                worker, general education teacher, principal, and
                                Parent.
               ii.      Other health impairment:
                         a)   “The Student has diagnoses of disruptive mood
                              dysregulation disorder, post-traumatic stress disorder,
                              and attention deficit/hyperactivity disorder. Behaviors
                              that are characteristic of these disorders have not been
                              observed in the school setting during this school year.
                              In addition, having these diagnoses does not seem to
                              adversely impact his educational performance as she
                              (actual pronoun used) is performing within the average
                              to below average range in all academic areas.”
                      b)      “The Student does not appear to have problems with
                              vision, hearing or motor abilities. The Student does not
                              present with an intellectual impairment. The Student
                              does not appear to be emotionally disturbed.”
                      c)      The same attendance statement from the emotional
                              impairment standard is contained within these
                              standards.
                      d)      The same educational performance statement from the
                              emotional impairment standard is contained within
                              these standards.
                      e)      There is no determination statement for this eligibility
                              area.
        i.     Summary and recommendations: Overall, the Student was
               performing at grade level in all academic areas and there were no
               academic deficits reported. The Student does not qualify for
               special education services as a student with an emotional
               impairment or other health impairment.
        j.     The report was completed by the school psychologist and the
               school social worker.
        k.     According to the District:
               i.       The multidisciplinary evaluation team reviewed the Student’s
                        behavior performance in the school and in the community. At
                        the time of the testing, the Student did not present with
                        behaviors in either the school or community setting, that were
                        negatively impacting him at school. In terms of behaviors, the
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                      Student did not have any suspensions at the time of the
                      testing and the teacher did not report behaviors of concern.
               ii.    At the time of the multidisciplinary evaluation team report,
                      the Student had one suspension for one day and a second
                      suspension administered on the date of the IEP for four days,
                      for a total of five days of suspension.
 19.    The eligibility recommendation form dated November 9, 2016 indicated:
        a.    The evaluation information section contained the same information
              as the multidisciplinary evaluation team, except for the following:
              i.    The background information only stated that the Student was
                    a second-grade student and this was an initial evaluation.
              ii.   The performance in school and other settings section indicated
                    that in previous school years, the Student had demonstrated
                    inappropriate behaviors including anger outbursts, destruction
                    of property, and threats and swearing. Throughout this school
                    year, the Student has not been observed to demonstrate any
                    major negative or inappropriate behaviors. There was no
                    mention of the Student’s behaviors on the school bus.
              iii.  The systematic observation of primary interfering behaviors
                    section indicated that there were no primary interfering
                    behaviors that were observed by the Student's general
                    education teacher, the school psychologist, or the school social
                    worker.
              iv.   The behavior intervention strategies, length of time used,
                    results section indicated that the Student previously had a
                    behavior intervention plan during first grade targeting anger
                    outbursts, destruction of property, and threats and swearing.
                    The plan involved increasing the Student's environmental
                    structure when possible, developing a safe person for him to
                    go to in order to talk things out, and utilizing a daily
                    check-sheet that would go between school and home.
                    Currently, and throughout the Student's second-grade year so
                    far, a behavior intervention plan had not been needed due to
                    the Student exhibiting appropriate behavior the majority of
                    the time. Additionally, the Student received counseling
                    through the community mental health wraparound program.
        b.    The diagnostic assurances section was completed for emotional
              impairment and other health impairment eligibility areas. A review
              of the standards for each eligibility area are consistent with the
              standards listed in the MARSE. The source for the eligibility
              determination for each eligibility area was the multidisciplinary
              evaluation report dated November 9, 2016.
 20.    An IEP was also held on November 9, 2016, which indicated:
        a.     The Student was not eligible for special education.
        b.     The written notice indicated:
               i.       The written notice was provided because the Student was

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                        found ineligible for special education programs-services, and if
                        age-appropriate, the District would support the Student using
                        resources in general education.
               ii.      Options considered included special education services. The
                        reason this was not selected is because the Student did not
                        meet eligibility guidelines.
               iii.     The notice was signed and dated November 9, 2016.
        c.     According to the District:
               i.    The District convened a timely and comprehensive IEP team
                     meeting.
               ii.   The IEP team agreed with the multidisciplinary evaluation
                     team’s recommendation that the Student was not eligible for
                     special education or related services under the IDEA or the
                     MARSE as a student with an emotional impairment or as a
                     student with other health impairment.
               iii.  The finding of ineligibility was fully supported by the testing,
                     observations, data and input from the staff and the Parent.
               iv.   The Parent attended the IEP team meeting and no one on the
                     team, including the Parent, indicated any disagreement with
                     the IEP.
 21.    On November 15, 2016, according to a bus referral form, the Student
        engaged in fighting and physical aggression with another student. The
        Student also was defiant and refused to follow the directions of the bus
        driver. No consequence was listed.
 22.    On November 16, 2016, according to an incident detail form, the
        Student physically assaulted a peer in the classroom. The incident was
        serious enough that the parent of the other student sought medical
        attention for their child. According to the pattern of behavior
        determination worksheet, the Student was suspended from school for 10
        days. On the same date, the principal completed a due process hearing
        request form regarding the incident.
 23.    On November 18, 2016, the following occurred:
        a.     The District sent a letter to the Parent indicating that the Student
               had been suspended from school for various behaviors and
               violations of the code of student conduct for the District. According
               to the letter, the Student was to be suspended from November 16
               until December 2, 2016. The letter indicated that, “To the best of
               my knowledge, the Student is not receiving special education
               services or Section 504 plan accommodations at this time.” The
               letter goes on to state that the Student may return on December
               5, 2016, unless otherwise directed.
        b.     The District sent a text message to the Parent, inviting the Parent
               to a due process hearing on November 28, 2016.
        c.     The District sent a second letter that indicated the principal
               confirmed the investigation into the behavioral incident that
               occurred on November 16, 2016 and that as a result, the Student
               was being recommended for expulsion. The letter indicated that
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                the Parent had a right to a due process hearing, to be held on
                November 28, 2016 at the District administrative offices. The letter
                included the notification of suspension, exclusion or expulsion
                proceedings procedural document, which outlined the procedures
                regarding suspension, exclusion, and expulsion.
 24.    The Parent reported that a meeting with the administrator of student
        services, was held and the Student was permitted to return to school on
        December 5, 2016.
 25.    According to an incident report dated December 5, 2016 and an incident
        detail form, that same day, while at recess, the Student refused to
        comply with directions and physically assaulted staff. According to the
        pattern of behavior determination worksheet, the Student was
        suspended for an additional eight days.
 26.    The Parent provided the school with a community mental health
        diagnosis document dated December 6, 2016, which indicated:
        a.      The report was signed by a physician.
        b.     The Student was diagnosed with bipolar disorder, post-traumatic
               stress disorder, attention deficit hyperactivity disorder, anxiety
               disorder, intermittent explosive disorder, psychotic disorder with
               hallucinations, unspecified mental disorder, disruptive mood
               dysregulation disorder, impulse disorder, and non-rapid eye
               movement sleep arousal disorder.
        c.     Additional information: Other general medical conditions: Multiple
               severe organic disturbances mood, affect regulation, lack of
               impulse control, cognitive processing, and attention/concentration
               due to closed head injury and other central nervous system insults
               during the ages of birth to three years old. Features of bipolar
               disorder. Cognitive difficulties exist in spite of at least possible
               high average to above average intelligence quotient (IQ).
        d.     Psychosocial, environmental and other factors: “Problems with
               primary support group, problems related to social environment,
               educational problems, and other psychosocial and environmental
               problems.”
 27.    On December 19, 2016, according to a bus referral form, the Student
        engaged in in fighting and physical aggression with peers and the bus
        driver. According to the referral form, the Student returned to the bus
        and on the first day back, got into several fights with fellow students.
        When the bus driver tried to separate the fight, the Student tried to hit
        the bus driver. The referral form indicated that this was an ongoing
        issue and that the Student was unsafe to transport. No consequence
        was listed.
 28.    On December 20, 2016, the District found the Student eligible for a
        Section 504 plan. The plan indicated:
        a.     The community mental health diagnosis document dated
               December 6, 2016, was attached and was referred to in the plan.
               The diagnoses listed in the community mental health document
               were included within the plan.
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        b.     The Student required accommodations to assist him in behaving
               according to school rules.
        c.     Accommodations included: "Alternate placement" for specials,
               alternate recess, the opportunity to debrief after an incident (such
               as calling the Parent, if staff was not available to talk), a formal
               behavior plan, and empathy building in the form of apologizing to
               staff and peers targeted and/or injured in the behavioral incidents.
        d.     According to the District:
               i.     Because the Student’s behaviors appeared to begin to
                      escalate in November and December 2016, the District
                      convened and completed a Section 504 Plan dated December
                      20, 2016.
               ii.    In addition to the supports put forth in the Section 504 Plan
                      for the Student, the District conducted a functional behavioral
                      assessment and completed more formal behavior intervention
                      plans for the Student during December 2016 and January
                      2017.
 29.    On December 20, 2016, the District drafted a behavior intervention plan
        that included the following:
        a.     Specific behaviors of concern related to physical and verbal
               aggression: hitting, destroying property, and making threatening
               statements.
        b.     Preventative Strategies: The Student was to be seated on the bus
               in an assigned seat; receive an alternative recess placement daily;
               be given an alternate classroom placement when a substitute
               teacher was assigned to his classroom; the ability to request a
               break when angry or frustrated; and in all classroom settings, the
               Student was to have an assigned seat by himself, still in proximity
               of the learning environment, including music, art, and physical
               education.
        c.     Replacement behavior: These included appropriate means of
               gaining attention to be reviewed regularly with the Student; work
               with school staff and community services staff to practice
               emotional regulation, empathy building, and anger management
               skills.
        d.     Positive (in the form of rewards) and negative consequences
               (responses to his behavior) for the Student based on the Student’s
               behavior.
        e.     Crisis plan: The Student would be provided with a safe, private
               space in which to deescalate if his behaviors presented a threat of
               harm to himself or others.
        f.     The behavior plan would be reviewed by the school team and
               updated or revised as needed. An update was scheduled for
               January 26, 2017.
 30.    On January 10, 2017, according to a bus referral form, the Student
        engaged in fighting and physical aggression with peers and the bus
        driver. According to the referral form, the Student fought two separate
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        students and ignored all verbal commands to stop from the bus driver.
        The bus driver needed to physically separate the fight. The referral form
        indicated that this was an ongoing issue and that the Student was
        unsafe to transport. No consequence was listed.
 31.    On January 11, 2017, according to an incident detail form, the Student
        refused to comply with directions and physically assaulted staff and
        several peers. A behavior/incident referral form outlined the same
        information, including that interventions in place were a behavior
        intervention plan and Section 504 plan. The referral form also indicated
        that the Student was sent home pending “due process” dated January
        11, 2017. Below that written statement, it further indicated that the
        Student was to receive three and a half days of suspension and no “due
        process.” According to the pattern of behavior determination worksheet,
        the Student was suspended for three and a half days.
 32.    On January 25, 2017, while in the gym, the Student exhibited
        inappropriate physical contact with a peer and became defiant with
        staff. According to a behavior/incident referral form, the Parent was
        called when the Student would not select one or two choices according
        to his behavior plan. The Student then went to class at 1:35 pm. After
        school, according to the bus referral form, the Student verbally
        threatened a fellow student, called other students derogatory names,
        and cursed at the bus driver. No consequence was listed.
 33.    On January 26, 2017, according to an incident detail form, the Student
        physically assaulted a peer and the incident was reported to the local
        police department. According to the behavior/incident referral form, the
        Student was disruptive, refused to follow the rules, made inappropriate
        physical contact, was taken to the office, and then taken home.
        According to the pattern of behavior determination worksheet, the
        Student was suspended for the rest of the day.
 34.    On January 26, 2017, the behavior intervention plan was updated, which
        included the following changes:
        a.      Preventative strategies: The Student would have to earn
                lunch/recess privileges daily based on his morning behavior. When
                the Student did not earn lunch/recess for the day, the Student
                would have to go to a different classroom. The Student was to stop
                in the office for five minutes every morning before going to his
                classroom to allow his peers to put their backpacks and coats away
                before the Student entered the classroom.
        b.      Updates/review: The plan would be reviewed by the school team
                and updated/reviewed as needed. The Student changed
                classrooms as of January 15, 2017.
        c.      Updated at a manifestation determination review/re-entry meeting
                on February 23, 2017.
 35.    On January 27, 2017, according to the Principal’s daily log, the Student
        would not go to an alternate lunch area. The community mental health
        worker came and assisted after a phone call to the Parent.
 36.    On January 30, 2017, a functional behavior assessment was conducted.

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        Participants in the development of the functional behavior assessment
        included two staff members. The functional behavior assessment
        included the following sections:
        a.     The Student’s strengths and successes;
        b.     Data collection checklist: The indirect sources included a record
               review, behavior logs, and discipline reports. Direct sources
               included staff observations conducted January 30, February 1 and
               2, 2017;
        c.     Behaviors of concern (target behaviors): Physical aggression and
               defiance/refusal to comply;
        d.     Specification/operational definition: The target behaviors were
               defined. The information was to include baseline data; however,
               none was provided. The antecedent was not identified for either
               target behavior;
        e.     Previous school-based interventions and strategies for target
               behaviors: The behavior intervention was listed as the present
               strategy. The indication was that the Student was able to follow
               his behavior plan at times; however, he also displayed a resistance
               to following the plan as well.
        f.     Summary hypothesis statement regarding target behaviors: The
               hypothesis statements for both target behaviors indicated that the
               antecedent was unknown, however the behaviors occur frequently
               (at least weekly) and seemed to be an effort for the Student to
               maintain control over his environment.
 37.    On January 30, 2017, according to a bus referral form, the Student
        became defiant and refused to follow directions. According to the referral
        form, the Student refused to stay in the front of the bus in his assigned
        seat, despite being asked several times, and encouraged a fellow
        student to fight him. The Student then pulled the student’s hair out. No
        consequence was listed. The bus referral forms were submitted by the
        Complainant and this was the last bus referral form submitted.
        a.     According to the District, at this time, there are no referrals to
               submit after January 30, 2017. However, any referrals obtained
               after January 30, 2017 would be submitted by the District. No
               referrals were submitted.
 38.    The principal’s daily log sheet indicated that on January 30, 2017, the
        Student was suspended from the bus until the video could be viewed.
        An entry dated January 31, 2017, indicated that the Student was
        suspended from the bus until February 9, 2017.
 39.    A daily log entry by an unknown staff dated January 30, 2017 indicated
        that the Student refused to complete his school work. The Parent was
        contacted and nothing was changed. The Parent agreed that the staff
        could keep the Student from recess. The Student also refused to get a
        lunch.
 40.    On January 30, 2017, a manifestation determination review was
        conducted under Section 504. The review indicated:
        a.     The Student had been suspended for a total of 22 school days so
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                far. The review listed all the discipline referrals made for the
                Student beginning on November 1, 2016 and ending January 26,
                2017.
        b.      The Parent reported that the Student had reactions to some of the
                medication that were tried and, at the time of the review, the
                Student was not on any medication. The Student also was no
                longer receiving therapy services from an outside agency.
        c.      The behavior subject to discipline was a manifestation of the
                Student’s disability.
 41.    On January 31, 2017, according to the principal’s daily log, the Student
        refused to go to an alternate location and went to the fifth-grade
        classroom at 11:30 am, indicating that the Student could return to his
        class at noon. Also, a “Parent Concern Form” was turned into the
        student services office and was in the office from 8:30 am to 11:30 am.
        It is unclear from the entry what was in the office at 8:30 am-the
        “Parent Concern Form” or the Student. A daily log entry by an unknown
        staff on the same date indicated that the Student was removed
        mid-morning due to refusals to do work until the afternoon; however, he
        finished the day doing well.
 42.    On February 1, 2017, the Student refused to follow directions in gym
        and physically assaulted a peer. According to an incident report dated
        February 1, 2017, the Student’s behavior intervention plan was
        implemented and the Student was in an alternate location to cool down.
        However, once there, he assaulted staff (an occupational injury report
        was completed by the employee) and may have possibly received a
        self-inflicted injury. According to the pattern of behavior determination
        worksheet, the Student was suspended for the rest of the day.
        According to a daily log entry by an unknown staff, the Student had a
        fine morning. He was sent home because of an incident in the physical
        education class. As the unknown staff was escorting the Student to get
        his belonging’s, the Student bumped his head against the unknown
        staff’s elbow from the rear. The unknown staff did not know if the bump
        was purposeful or accidental.
 43.    Also, on February 1, 2017, according to the principal’s daily log, the
        Student saw the school psychologist based on a referral from a general
        education teacher. According to the District, there was no documented
        referral to the school psychologist, however, she was listed as a witness.
 44.    On February 3, 2017, according to the daily log by an unknown staff, the
        Student was taken to the office because he refused to do any work. The
        unknown staff spoke to the Parent and notified her that the unknown
        staff had extra students in his/her classroom. The unknown staff told the
        Parent that he/she could not focus all of their time and attention to the
        Student, because of the extra children. The Parent removed the Student
        from school for the rest of the day.
 45.    On February 6, 2017, according to the principal’s daily log, the Student
        was refusing to work in class. He was brought to the office to avoid a
        blow-up as he was not working in class. The Student was moved to a

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        conference room and he did not do much work there either. The
        principal indicated that the Student would be given a break card to show
        his teacher if he needed to leave the room and come back to the office.
        This was substantiated by a daily log entry by an unknown staff.
 46.    Also on February 6, 2017, an IEP team meeting invitation was sent to
        the Parent, with instructions on how to access procedural safeguards.
        The purpose of the meeting was listed as a manifestation determination
        review and the convening of IEP team members; however, upon further
        review, the manifestation determination review was for a Section 504
        plan that was held on February 10, 2017.
 47.    On February 7, 2017, according to the principal’s daily log, the Student
        walked out of music class and stayed in the office until music class was
        over. Later, the Student walked out of the classroom. The Parent was
        called and was asked to pick up the Student. This was not considered a
        suspension. A meeting was requested by the principal. This was
        substantiated by a daily log entry by an unknown staff.
 48.    On February 10, 2017, the Parent requested that the District provide the
        Student with additional or different supports. In response to the Parent’s
        requests, the District met on February 10, 2017 to review the Student’s
        section 504 plan; however, no changes were made to the plan. A
        manifestation determination review for Section 504 was also conducted
        that day as well. According to the review, the Student began new
        medication and would be starting therapy services. The determination
        made was that the behavior subject to discipline was a manifestation of
        the Student’s disability.
 49.    On February 15, 2017, according to the Student’s behavior intervention
        plan, the Student changed classrooms.
 50.    On February 21, 2017, according to the incident detail form, the Student
        physically assaulted a peer. According to the pattern of behavior
        determination worksheet, the Student was suspended one and a half
        days.
 51.    On February 23, 2017, another manifestation determination review was
        conducted under Section 504. According to the review, the classroom
        teacher reported that things had not been going well in her classroom
        since the Student switched to her classroom. The first and second day in
        the room he did well and made it through the whole day, however he
        was not able to stay a whole day at school since the classrooms were
        switched. The determination made was that the behavior subject to
        discipline was a manifestation of the Student’s disability.
 52.    On February 23, 2017, the Parent sent an email to the District principal,
        requesting a special education evaluation for the Student because the
        Section 504 plan was not working. On March 7, 2017, the Parent
        followed up with the school psychologist, sending a second email
        concerning the request for a special education evaluation. There was no
        indication when the District responded to the Parent’s request.
 53.    On February 27, 2017, the Student physically assaulted a peer while on
        the playground. When staff attempted to intervene, the Student

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        assaulted several staff members. The Student was suspended for 10
        days, through March 9, 2017.
 54.    On March 9, 2017, a review of existing evaluation data and evaluation
        plan was initiated for the Student. According to the form:
        a.     The Parent made a referral on March 8, 2017 due to concerns
               about the Student’s behavior and that he is not receiving enough
               support at school.
        b.     The Student was evaluated in November of 2016 and was found
               ineligible as a student with an emotional impairment and other
               health impairment. At that time, the Student did not have mental
               health diagnoses and was not exhibiting problematic behaviors in
               the classroom.
        c.     The general education teacher reported that the Student exhibited
               major behavior problems in class, including very disrespectful
               behaviors along with verbal and physical aggression towards peers
               and staff.
        d.     The evaluation plan proposed assessments in the area of
               social/emotional/behavioral, to include observations and a
               behavior rating scale.
        e.     The Parent provided consent on March 9, 2017; however, a copy of
               the actual signature was not provided, as the form was provided
               from the District’s TIENET database.
               i.    According to the Complainant and the Parent, the Parent
                     never provided consent for any evaluations and this form was
                     not provided to the Complainant following a request for
                     records.
               ii.   According to the District, a member of the team who was
                     listed as a participant on the form was unable to verify that
                     consent was provided.
 55.    On March 20, 2017, the Student refused to follow directions and became
        verbally aggressive toward staff. The Student was sent to the office and
        suspended for half a day.
 56.    On March 29, 2017, an IEP team meeting invitation was sent to the
        Parent, with instructions on how to access procedural safeguards. The
        purpose of the meeting was listed as a manifestation determination
        review and the convening of IEP team members; however, upon further
        review, the manifestation determination review was for a Section 504
        plan that was held on April 25, 2017.
 57.    On April 14, 2017, an IEP team meeting invitation was sent to the
        Parent, with instructions on how to access procedural safeguards. The
        purpose of the meeting was listed as determining or reviewing the
        Student’s eligibility for special education programs/services and for
        developing, reviewing, or revising this Student’s IEP.
 58.    On April 20, 2017, according to an incident detail form, the Student
        walked out of class. The Student returned to class, but then walked out
        a second time, seeking an alternate location to take a break, per his
        behavior plan. The Student refused to speak to staff and made verbal

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        threats if the staff did not leave the location. According to the pattern of
        behavior determination worksheet, the Student was suspended half a
        day.
 59.    On April 25, 2017, another manifestation determination review was
        conducted under Section 504. According to that review, the teacher
        reported that the Student was very bright, read well and that math was
        a strength for him. However, behavior was a major issue in class and the
        Student had only been able to stay in school for one full day since he
        switched classrooms on February 15, 2017. Two entries dated April 26,
        2017, were made concerning the Student’s behavior in class and that
        the Student was diagnosed with juvenile arthritis. The determination
        made was that the behavior subject to discipline was a manifestation of
        the Student’s disability.
        a.     According to the District:
               i.    Because the Student's behaviors continued to cause him to be
                     suspended and because the Section 504 Plan and the formal
                     behavioral interventions and supports were not resulting in
                     eradication of the behaviors, the District re-visited the
                     Student's eligibility under the IDEA and the MARSE.
               ii.   The Student was not left in the District’s child study team
                     process. The District provided appropriate interventions and
                     supports for the Student at school.
 60.    On April 26, 2017, a multidisciplinary evaluation team was conducted
        with the school psychologist, the school social worker, and the teacher.
        The multidisciplinary evaluation team report indicated:
        a.     The Student was referred for a special education evaluation at the
               request of the Parent, due to the Student’s behavior in school and
               his inability to stay in the classroom.
        b.     Assessments administered included: Informal observations, record
               review, teacher/parent interview, and the Behavior Assessment
               System for Children, second edition.
        c.     Medical information-current: Diagnoses from the community
               mental health diagnosis document dated December 6, 2016 were
               included. Other medical information included asthma, medication,
               juvenile arthritis diagnosis, medical concerns regarding vision.
        d.     Background information: Same information as reported on
               November 9, 2016, with no changes.
        e.     Previous evaluation data from November 2016: Data from the
               Wechsler Individual Achievement Test-third edition and the Grey
               Oral Reading Tests-fifth edition were listed. Statement indicated,
               “The Student’s academic skills appear to be within or around the
               average range of functioning for a student in the 2nd grade.”
        f.     Teacher report: Statements indicated that when the Student was
               having a good day, he did really well. However, when he started
               out negatively, he would struggle the rest of the day, often being
               sent home for the afternoon. When having a bad day, the Student
               could be defiant, disrespectful, verbally aggressive, and on more
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               severe days, physically aggressive towards students and staff. The
               Student had more bad days than good days. Additionally, she
               reported that the Student did not interact with his peers very
               often, often choosing to sit by himself unless he wanted to play a
               game.
        g.     Individual assessments: Data was listed for the Behavior
               Assessment System for Children, second edition, which indicated:
               i.    Scores in the “clinically significant” range suggest a high level
                     of maladjustment.
               ii.   Scores in the “at-risk” range may identify a significant
                     problem that may not be severe enough to require formal
                     treatment or may identify the potential of developing a
                     problem that needs careful monitoring.
               iii.  The Parent rated the Student in the “Clinically significant”
                     range for somatization and atypicality. The areas of
                     hyperactivity, aggression, anxiety, attention problems, as well
                     as the externalizing problems, internalizing problems, and
                     behavioral symptoms index composite scores, all scored in the
                     “at-risk” range on the parent assessment. The Student’s
                     adaptive skills fell in the “at-risk” range in the areas of
                     adaptability and social skills, as well as the adaptive
                     composite score. In the parent assessment, the Student's
                     internalizing problems composite score was greater than his
                     externalizing problems composite score.
               iv.   The teacher's ratings scored in the “clinically significant”
                     range in the areas of aggression and withdrawal, as well as
                     the externalizing problems composite score. The areas of
                     hyperactivity and conduct problems, as well as the behavioral
                     symptoms index, all scored in the at-risk range on the school
                     assessment. The school assessment rated his adaptive skills in
                     the area of adaptability in the “clinically significant” range,
                     and the areas of social skills and the adaptive composite score
                     was in the “at-risk” range. In the school assessment, the
                     Student's externalizing problems composite score was greater
                     than his internalizing problems composite score as well as his
                     school problems composite score.
        h.     Classroom observations:
               i.       Two observations were made by the school social worker; one
                        in the Student’s classroom in the morning and after lunch
                        during math time and recess. During the first observation, the
                        Student did not exhibit any behaviors and he utilized his
                        break card to go to the office to self-calm. During the second
                        observation, the Student worked quietly by himself with a
                        laptop. The Student then went to recess and interacted
                        appropriately with his peers. The Student was late coming
                        back from recess. When given a consequence by the teacher,
                        the Student accepted the consequence without complaint.
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               ii.    Two observations were also made by the school psychologist in
                      the morning and in the afternoon, during work time. While the
                      morning observation showed the Student to be on task and
                      compliant, the afternoon observation showed the Student to
                      be defiant and disrespectful to the teacher, using
                      inappropriate language for school. The Student did attempt to
                      use a break, which was already put in place as a behavior
                      support, but he returned to class quickly and continued to
                      exhibit inappropriate behaviors in class.
        i.     Problem validation and conclusion: The following statement was
               included in this section: Based on the Student's diagnoses it
               appears that the Student's disability is negatively impacting his
               ability to stay in the classroom and profit from the general
               education environment. The Student would most likely benefit
               from special education services in order to further support his
               behavior at school.
        j.     Eligibility areas reviewed:
               i.       Emotional impairment: This section included the standards for
                        the eligibility area, however, there was only one statement
                        listed at the bottom of the section: “The school team
                        considered emotional impairment, however, it was ruled out
                        because the Student’s behaviors of concern at school do not
                        match the behaviors of concern at home, based on interviews
                        with the Parent, and the results of the home and school
                        Behavior Assessment System for Children, second edition.
                        Also, during this school year the Student has received
                        multiple mental and physical health diagnoses for which
                        treatment is in the early stages, and the impact of his health
                        conditions on school behaviors may very well be significant.".
               ii.      Other health impairment: The following were marked true:
                         a)     This student has a chronic or acute health problem.
                         b)     Due to the chronic or acute health problem, the
                                student has limited strength, vitality or alertness,
                                including a heightened alertness to environmental
                                stimuli, which results in limited alertness with respect
                                to the educational environment. Due to the Student's
                                mental health diagnoses, the Student struggles to
                                control his behavior, which results in a limited
                                alertness to the educational environment.
                         c)     The suspected disability is not due to limited English
                                proficiency.
                         d)     The suspected disability is not due to a lack of
                                appropriate instruction in math or the essential
                                components of reading
                         e)     The suspected disability adversely affects educational
                                performance and requires special education
                                programs/services.
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        k.     Recommended eligibility: The recommendation indicated that the
               Student met eligibility criteria as a student with other health
               impairment and the Student should receive special education
               services to further support his behavior at school.
        l.     The report was signed by the school psychologist and the school
               social worker.
 61.    The eligibility recommendation form dated April 26, 2017 indicated:
        a.    The reason for referral was that the Parent had concerns about the
              Student's behavior and that he was not receiving enough support
              at school.
        b.    Background information stated, “The Student was evaluated in
              November of 2016 and was found ineligible as a student with an
              emotional impairment and other health impairment. At that time,
              the Student did not have mental health diagnoses and was not
              exhibiting problematic behaviors in the classroom. After the
              evaluation was completed, the Student began having behavioral
              problems at school and a 504 plan was put into place to address
              those issues.”
        c.    The current education/developmental level included the same
              testing completed November 2016; however, the new Behavior
              Assessment System for Children, second edition testing completed
              in April 2017 was not included.
        d.    The District included information about the Student's mental
              health diagnoses from the community mental health diagnosis
              document dated December 6, 2016; however, there was no
              reference of the history of a closed head injury and central nervous
              system trauma mentioned in the same report.
        e.    Eligibility area considered was other health impairment and the
              Student was found eligible.
        f.    The present level statement included in the eligibility form
              indicated that the Student had demonstrated behavioral problems
              at the school since November 2016. In spite of the use of a
              behavior plan and Section 504 plan, the Student continued to
              struggle with inappropriate behavior at school.
 62.    An IEP dated April 26, 2017 was developed that included the following:
        a.     Student strengths, Parent concerns, and current evaluations.
        b.     The Student had been suspended for a total of 37 school days this
               year.
        c.     The Student was eligible for special education as a student with
               other health impairment.
        d.     The present level of academic achievement and functional
               performance included the following areas of need:
               i.    Reading: Decoding, reading fluency, and reading
                     comprehension. An adverse impact statement indicated that
                     the Student’s reading scores do not appear to interfere with
                     performance in general education to the extent that special
                     education supports are required.
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               ii.  Mathematics: Math problem solving and math calculation. An
                    adverse impact statement indicated that the Student’s math
                    scores do not appear to interfere with performance in general
                    education to the extent that special education supports are
                    required.
               iii. Writing: Written expression. An adverse impact statement
                    indicated that the Student’s writing scores do not appear to
                    interfere with performance in general education to the extent
                    that special education supports are required.
               iv.  Socio-Emotional/Behavioral: Behavior. The Student has a high
                    number of discipline referrals and suspensions for: Defiance,
                    disrespect, verbal and physical aggression, and assault. The
                    Student has had a behavior plan in place this year at school as
                    well as during previous years. Additionally, a 504 plan was
                    developed for the Student, however, the Student continues to
                    struggle with appropriate behavior at school.
                     a)       This need was addressed via annual goals,
                              supplementary aids and services, and
                              program-services.
               v.   There was no reference to the new Behavior Assessment
                    System for Children, second edition testing completed in April
                    2017.
        e.     The special factors section included the following information:
               i.   The IEP team considered the use of positive behavioral
                    interventions and supports, and other strategies, to address
                    behavior because the Student had behavior that impeded his
                    or her learning or the learning of others.
               ii.  The supplementary aids and services included: Behavior,
                    monitoring/redirection, breaks, and bumpy seat/fidget, daily
                    in all school settings; and breaks, small group setting, and
                    alternate location to take test, for all classroom, District, or
                    state assessments, in the general education classroom.
        f.     The annual goals and objectives included the following:
               i.       Annual goal: By April 2018, the Student will keep
                        hands/feet/objects to self, 90% of the time and utilize breaks
                        appropriately.
                         a)      Short-term objective: The Student will keep
                                 hands/feet/objects to self, 70% of the time when
                                 visibly upset/frustrated. Criteria: 70% accuracy.
                                 Evaluations: Observations/anecdotal records.
                                 Schedule: Card marking.
                         b)      Short-term objective: The Student will utilize breaks
                                 appropriately 70% of the time when visibly
                                 frustrated/upset. Criteria: 70% accuracy. Evaluations:
                                 Observations/anecdotal records.
               ii.      Annual goal: By April 2018, the Student will learn and utilize
                        coping strategies to express his emotions in an appropriate
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                    way, approximately 80% of the time. Examples of coping
                    strategies include: Deep breathing, visualization, progressive
                    muscle relaxation, engaging the five senses, etc. 90% of the
                    time when visibly frustrated/upset.
                      a)     Benchmark: By October 2017, the Student will utilize
                             coping strategies to express his emotions in an
                             appropriate way, approximately 50% of the time.
                             Criteria: 50% accuracy. Evaluations: Teacher
                             observation. Schedule: Card marking.
                      b)     Benchmark: By January 2018, the Student will utilize
                             coping strategies to express his emotions in an
                             appropriate way, approximately 65% of the time.
                             Criteria: 65% accuracy. Evaluations: Teacher
                             observation. Schedule: Card marking.
        g.     Programs and services included:
               i.   Teacher consultant – emotional impairment, consultative, 10
                    to 20 minutes, one to two sessions per month in general
                    education classes.
               ii.  A checkbox was included, asking if the Student required a
                    reduced day and the box was checked “no.”
        h.     The written notice indicated:
               i.       The notice and the IEP constitute the District’s offer of a FAPE.
               ii.      Options considered but not selected included:
                         a)  Communication needs because it does not meet
                             Student’s needs at this time; and
                     b)      Need for assistive technology devices and services
                             because it does not meet Student’s needs at this time.
        i.     The Parent provided consent to the provision of special education
               programs and/or services on April 26, 2017.
        j.     According to the District:
               i.       Because the Student’s behaviors continued to cause him to be
                        suspended and because the Section 504 Plan and the formal
                        behavioral interventions and supports were not resulting in
                        eradication of the behaviors, the District re-visited the
                        Student’s eligibility under the IDEA and the MARSE.
               ii.      The District convened an IEP team meeting and found the
                        Student eligible as a student with other health impairment,
                        based upon his medical conditions, newly-provided
                        information from the Parent regarding his clinical diagnosis
                        and community services and his behaviors that were causing
                        the Student to be suspended.
               iii.     The staff makes various recommendations based on a
                        continuum of support and student needs. Those
                        recommendations are considered by the IEP team and the IEP
                        team makes the decision. In this particular situation, this
                        Student had several outside agencies and supports trying to

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                     connect with the family. The introduction of various adults and
                     support for relationships is important when providing services
                     for this student. The teacher consultant services determined
                     by the IEP team were for consultation services.
               iv.   The Student received support and services from all support
                     staff on a daily and hourly basis. The behavior specialist,
                     special education teacher, paraprofessionals and the principal,
                     as well as the school social worker provided de-escalation,
                     positive behavior support and crisis intervention daily. This
                     data was provided in behavior plans and logs as well.
 63.    On May 2, 2017, according to an incident detail form, the Student
        assaulted a peer with a chair. The Student was suspended for 10 days.
        At this point for the 2016-2017 school year, according to the pattern of
        behavior determination worksheet, the Student had been removed for a
        total of 49 days.
 64.    On May 15, 2017, the District conducted a manifestation determination
        review, which indicated:
        a.     The purpose of the review was to determine whether the conduct
               subject to discipline was a manifestation of this Student's
               disability.
        b.     On May 3, 2017, the District contacted the Parent to arrange for
               the manifestation determination review meeting.
        c.     Relevant evaluations and assessment results were reviewed,
               including the following information:
               i.    The Student’s initial evaluation occurred on November 9,
                     2016, and the Student was found not eligible because the
                     Student did not have mental health diagnoses and was not
                     exhibiting behavioral problems in the classroom at that time.
               ii.   The Student began having behavioral problems at school and
                     a 504 plan was put into place to address those issues.
               iii.  After continued behavior problems at school, another request
                     was submitted to re-evaluate the Student for special
                     education services. After the Student's second evaluation, he
                     was found eligible as a student with other health impairment
                     due to diagnoses of: Bipolar and related disorder due to
                     another medical condition, post-traumatic stress disorder,
                     attention-deficit/hyperactivity disorder, anxiety disorder due
                     to another medical condition, intermittent explosive disorder,
                     psychotic disorder with hallucinations due to another medical
                     condition, disruptive mood dysregulation disorder, impulse
                     disorder, and unspecified mental disorder due to another
                     medical condition.
               iv.   The Student utilizes an inhaler for asthma and had begun
                     taking medication for attention deficit hyperactivity disorder.
                     The Student was recently diagnosed with juvenile arthritis as
                     of April 2017 and takes medication for pain. The Student
                     would be monitored for vision concerns every six months.

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               v.    Northwest Evaluation Association (NWEA) testing results for
                     fall 2016 and winter 2017.
               vi.   The Student was suspended for a total of 49 school days this
                     school year. Discipline referrals were listed, dated from
                     November 1, 2016 through May 2, 2017.
               vii. Student’s current IEP and placement indicated that the
                     Student received special education services with a teacher
                     consultant, for 10 to 20 minutes, one to two times per month.
               viii. Teacher observations were completed by the Student’s
                     classroom teacher and physical education teacher. The
                     classroom teacher indicated that the Student’s behavior in her
                     class was a hit or miss. He could be great one day and then
                     struggled with his behavior on other days, such as: becoming
                     defiant, disrespectful, and verbally and physically aggressive
                     with others, both staff and peers. However, since spring
                     break, his behavior appeared to decline-there were less great
                     days. The physical education teacher indicated that the
                     Student had not attended her class since before spring break.
               ix.   Parent relevant information included that the Student
                     continued to struggle and had good days and bad days. The
                     Parent reported an incident in the classroom with the teacher
                     and the Parent on the telephone, whereby the Student called
                     the Parent and waited 15 minutes to receive assistance from
                     the teacher. The Parent further reported that the Student was
                     hyper at home and she did what she could.
               x.    Relevant information included that the Student’s community
                     mental health worker has worked with the Student weekly
                     since February 2017. The worker was required to work with
                     the family for two hours per week. The worker reported that
                     she had seen growth in the Student's understanding of his
                     anger and body cues, however he struggled to use coping
                     skills in the moment.
        d.     The manifestation determination section indicated that the conduct
               in question was caused by or directly and substantially related to
               the Student’s disability and was not to a failure to implement the
               Student’s current IEP.
        e.     The notice indicated:
               i.       The contents of the manifestation determination review form
                        served as a description of the manifestation determination
                        review process and outcome for the Student. If the Parent
                        disagreed with the determination, the Parent had the right to
                        file an expedited due process hearing by following the
                        procedures outlined in the procedural safeguards notice for
                        special education, which describes protections under the
                        IDEA. If the Parent wanted a copy of the procedural
                        safeguards notice, the Parent would have to contact the
                        special education department for the District or go to a
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                    website-which when accessed does not provide a copy of the
                    procedural safeguards notice.
        f.    According to the District, the behavior plan was revised at the IEP
              team meeting. However, no revised behavior plan was submitted
              by the District.
        g.    According to the Complainant, the Parent and the community
              mental health worker:
              i.    The District passed around a sign in sheet for the
                    manifestation determination review. The supervisor of student
                    support services told the team that the manifestation
                    determination review would be completed first, then the team
                    would look at the IEP and make decisions based on the best
                    interest of the Student.
              ii.   The team talked about the Student’s behavior and triggers.
                    They reviewed all the information very quickly. The team
                    talked about how many times he had been out of school and
                    the number of times he had been suspended. No documents
                    were reviewed, just the incident report explaining why he had
                    been suspended.
              iii.  The behavior intervention plan was never discussed or
                    reviewed.
              iv.   The Student was not returned to the prior placement. The
                    Parent was not in agreement with the change of placement.
 65.    The IEP dated April 26, 2017 was revised following the manifestation
        determination review. The IEP dated May 15, 2017, indicated:
        a.    The Complainant and the District submitted different versions of
              this IEP, as indicated below. The Complainant’s version came from
              the Parent.
        b.    The District reviewed and revised the Student’s IEP, noting that
              the purpose of the IEP team meeting was for "Annual review,
              suspension/expulsion." The IEP included the following changes:
              i.    The IEP participants included the Student, both Parents (the
                    District version did not list one of the Parents), the general
                    education teacher (the District version listed a different
                    teacher), the special education teacher, the administrator of
                    student services (not listed on the version submitted by the
                    District), the school social worker, the Student’s community
                    mental health worker, the principal, and the school
                    psychologist.
              ii.   Parent concerns, “The Parent reported that the Student
                    struggles with his behavior at home as well.”
              iii.  Progress on most recent goals and objectives stated, “The
                    Student has not made any progress on his goals since his IEP
                    was finalized on April 26, 2017 as he has been suspended
                    since May 2, 2017.”
              iv.   Teacher consultant services changed from one to two sessions
                    per month to one to four sessions per month, however, the

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                     services remained consultative for 10 to 20 minutes each
                     session.
               v.    The checkbox in the program-services section that asked if the
                     Student required a reduced day was checked “yes” and the
                     reason was listed as “medical or psychological reasons.”
               vi.   A separate page stated, “The Student will come in morning
                     until lunch. Will continue to eat lunch in office before he goes
                     home. Will ride partial day bus home. Need to get bus set up.”
                     This information was not on the version submitted by the
                     District.
               vii. Anticipated needs section was different on the version
                     submitted by the District, which indicated:
                      a)       The Student would be on a partial day through the end
                               of the school year, per the supervisor of student
                               support services at a due process meeting on May 15,
                               2017.
                      b)       The Student would eat lunch in the office like normal
                               and then ride the “partial day bus” home from the
                               school building around 11:15 am.
                      c)       According to the District, this is not a “partial day
                               bus,” but transportation provided for the Student, who
                               is participating in a partial school day. A reduced or
                               partial day was recommended by the IEP team and
                               transportation was provided to the student at the end
                               of the designated day. The IEP team, including the
                               Parent agreed to a reduced day to try to increase some
                               school success for the student in shorter increments
                               based on the behavior increases in the afternoon. The
                               offer of curb to curb transportation at the end of the
                               partial day was extended to the family and accepted.
               viii. The written notice was the same except for the additional
                     purpose section indicating that the additional purpose was
                     suspension/expulsion. The version submitted by the
                     Complainant was signed by someone who did not attend the
                     manifestation determination review or IEP team meeting. The
                     District version was not signed.
                      a)       According to the Complainant, she received her version
                               of the IEP from the Parent via fax.
        c.     According to the Complainant, the Parent, and the community
               mental health worker:
               i.    Once the manifestation determination review decision was
                     made, the supervisor of student support services left the
                     room, indicating he was going to talk to the director of special
                     education on the phone. He came back and stated that the
                     Student was going on half days because it was in the best
                     interest of the Student. Nothing else was discussed. The
                     Parent indicated that she did not agree with the placement

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                    decision, that she had questions, and that the determination
                    was not in the best interest of the Student. The District team
                    stated that it would make the Student more successful. The
                    meeting was then adjourned. The IEP paperwork was given to
                    the Parent after the meeting and she realized later that the
                    placement of the Student had been revised in the IEP.
        d.     According to the District:
               i.    The recommendation for the Student’s placement following
                     the manifestation determination review was based on the
                     severity of the incident and previous incidents that resulted in
                     a manifestation determination review during the 2016-2017
                     school year and data determined that behaviors increased in
                     the afternoon. The recommendation was to try a reduced day
                     until the end of the school year, which was agreed upon by
                     the entire IEP team, including the Parent. The behavior plan
                     was revised at the IEP team meeting with the Parent as well,
                     to include extended breaks in the morning for the Student
                     when needed.
 66.    The Student’s attendance was recorded throughout the 2016-2017
        school year on the student attendance report and the student day total
        sheet. Behavioral incidents were recorded on the student attendance
        report, discipline student detail form, the behavior detail form, the
        incident detail form, and the pattern of behavior determination
        worksheet.
 67.    The student day total sheet for the Student was completed for every day
        of the school year 2016-2017. However, there were columns that
        contained codes that were not explained anywhere in the document.
        According to the District, the District utilizes a student information
        system called eSchool Plus. The District used this report to have a full
        view of Student absences. There are other reports that can be generated
        in eSchool Plus that indicate discipline and suspensions related to
        absences, which were outlined above. The District did not use this report
        to track the suspensions and removals of the students within the
        District.
 68.    According to the pattern of behavior determination worksheet, the
        Student was suspended for 49 days. The worksheet asked at the bottom
        if there was a pattern of removals. Each incident was listed; however, it
        was never determined whether there was a pattern of removals as no
        boxes were checked indicating “yes or no” in response to the question.
        Only a reason was provided.
        a.      According to the District:
               i.       The District requires every building to have a “suspension
                        team” and a report that tracks removals from schools of
                        students that accrue five or more days. The suspension team
                        provides a “check and balance” with buildings to verify
                        suspensions, interventions provided and correct days of
                        removal. Suspension team reports are completed every month
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                     by each building team and submitted to the student services
                     department. The eSchool Plus reports are generated for school
                     staff to review student absences and suspensions. Building
                     principals, child accounting secretaries, behavior specialists
                     and support specialists, if designated responsible for inputting
                     student data, are trained on the process through the District.
               ii.   If a parent is called by the building administrator to pick up
                     their child for a Category 2 or Category 3 violations that has
                     resulted in a removal from school, it is considered and
                     recorded as a suspension and marked in eSchool Plus as such.
               iii.  If a parent is called by the building administrator to pick up
                     their child for a Category 2 or Category 3 violations that has
                     resulted in a removal from school, it is considered and
                     recorded as a suspension and marked in eSchool Plus as such.
 69.    The Student’s report card for the 2016-2017 school year submitted by
        the District was completed through the first two marking periods. The
        third and fourth marking periods were blank.
 70.    The District's Staff Handbook included the following information relevant
        to this complaint:
        a.     Behavioral concerns. Students with major behavioral concerns
               need to have a behavior plan. Suspensions should be kept at a
               minimum. Serious behavior concerns should be documented on
               the IEP. All staff in buildings should be proactive and implement
               alternatives to suspension at the beginning of the school year.
               Alternatives were listed. This section also outlined manifestation
               determination reviews and the need for a functional observation
               behavioral analysis be completed for the student, the pattern of
               removals determination worksheet, 11th day FAPE plan.
        b.     Child Find regulations. According to the information, if a staff
               member receives a written request from a parent or guardian to
               evaluate their child for special education eligibility, then the school
               psychologist, speech therapist, or student services personnel must
               be notified within 24 hours. The school psychologist or speech
               therapist need to meet with the parent/guardian within 10 school
               days to conduct a review of existing evaluation data. The
               parent/guardian must sign for the evaluation being proposed. This
               includes Child Find efforts involving any student suspected of
               having a disability or having a disability who is in need of special
               education and related services. The consent for evaluation must be
               signed from the parent to proceed with conducting the evaluation.
               If staff members determine that an evaluation is not needed, then
               written support for refusing the evaluation must be made. Staff
               members need to notify a Student Services administrator if this
               occurs to review the written notice before it is sent to the
               parent/guardian.
        c.     ESchool Plus. This is the name of the student data base system for
               the District where information is stored in the system. Attendance

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               information must be entered by each teacher and updated
               correctly by the building child accounting secretary.
        d.     IEPs. Initial evaluations for students by itinerant staff (speech
               therapist, social workers or school psychologists) need to be
               comprehensive. All possible disability areas need to be covered in
               the evaluation.
        e.     PBLS. PBLS is a school wide positive behavior intervention support
               system that organizes adults and students to create a social
               culture in schools that will encourage positive behavior and
               interactions, while discouraging problem behaviors. This includes
               necessary components for implementation and effective practices.
 71.    Referrals. All special education referrals need to have the original
        signature page turned into student services within two business days of
        taking the referral. All evaluations need to be completed within 25
        school days. Permission is needed from a special education
        administrator if there are extenuating circumstances to delay the
        evaluation.
        a.     The Student Code of Conduct included the following information
               relevant to this complaint:
        b.     The code of student conduct covers only the most obvious and
               serious types of misconduct.
        c.     The code includes details for infractions as well as the possible
               range of consequences to the violations of the student code of
               conduct.
               All misconduct is separated into three different sections by
               categories, which included the following:
               i.    Category I-General misconduct;
               ii.      Category II-Serious misconduct infractions; and
               iii.     Category III-Illegal conduct infractions.
        d.     Bus behavior: All school rules and regulations apply when students
               are under the jurisdiction of the school. This includes all student
               transportation activities (to and from school).
        e.     Students with disabilities: This section provided information
               regarding the discipline protections afforded to students with IEPs
               and/or section 504 plans.
 72.    Child study team process document indicated:
        a.     The child study team is designed as a school based
               problem-solving model that supports teachers in engaging in
               pre-referral intervention activities.
        b.     Steps include:
               i.       Teacher identification of student for child study team;
               ii.      Parent notification;
               iii.     Completion of child study team form by referring teacher;
               iv.      Initial information gathering;
               v.       Initial child study team meeting, which includes: Clarification

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                     of teacher concerns, brainstorming strategies/interventions,
                     development of plan, and schedule of follow-up meeting; and
               vi.   Follow-up meeting, which includes: Review progress,
                     additional strategies discussed, and next steps determined.
        c.     Reasons for referring a child to the child study team process
               included:
               i.    Academic concerns (student is struggling or needs to be
                     challenged);
               ii.   Behavioral concerns;
               iii.     Social/emotional concerns;
               iv.      Occupational therapy /physical therapy concerns;
               v.       Speech and language concerns; and
               vi.      When retention is a consideration.
        d.    There is a form used by the child study team process that outlines
              concerns, background information, brainstorming and the next
              review date. The District did not submit a completed child study
              process document for the Student.
 73.    The District Procedural Checklist: Initial Evaluation document indicated:
        a.     The document is a checklist outlining tasks that need to be
               completed for an initial evaluation and the person responsible for
               each step. A date completed box is included for each task.
        b.     Requests for special education evaluations are submitted by the
               child study team or by parents in writing.
        c.     Steps included:
               i.       Request is submitted.
               ii.      Communication between the team and the parent within 10
                        school days.
               iii.     The team confirms need for evaluation and obtains signed
                        consent for the evaluation.
               iv.      The team completes the review of existing evaluation data and
                        evaluation plan.
               v.       The multidisciplinary evaluation completes the evaluation, the
                        eligibility recommendation, develops a present level
                        statement on the eligibility recommendation, attachment of
                        additional documentation in TIENET, finalize eligibility and
                        communicate the eligibility recommendation to the parent and
                        the members of the IEP team two to three days prior to the
                        IEP team meeting.
               vi.      Scheduled IEP team meeting must be held within 30 school
                        days of receipt of parent consent. Invitations are sent to the
                        team members.
               vii.     Documents are created based on the determination of
                        eligibility.
               viii.    After the IEP is held and completed, submit original IEP to
                        student services department within 24-28 hours.

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 74.    An individual education program checklist for staff review document
        appears to be a checklist for staff to use to make sure that each part of
        the IEP has been completed.
 75.    The District submitted a template for the “Worksheet for Determining a
        Pattern of Removal” that included guidance and directions on
        completing the form. The District did not submit this form for the
        Student. The District submitted several other blank template forms
        regarding discipline practices utilized within the District, some of which
        were not completed for this student, specifically: Suspension
        intervention team report, educational services after the 10th day letter,
        eleventh day FAPE service documentation form, snap suspension notice,
        due process hearing procedures document, and due process
        investigation form.
 76.    A review was made of District evaluations for students within the same
        building as the Student, regarding Child Find conducted during the
        2016-2017 school year. According to that review:
        a.     Thirteen students were found to have been evaluated for Child
               Find for the District, including the Student (the Student is not
               included in the data found below).
        b.     Of the thirteen files reviewed, the following was found:
               i.       The standards for each evaluation were consistent with the
                        IDEA and the MARSE. For a couple students, the standards
                        were not marked correctly based on the information provided.
               ii.      Some students were evaluated in one eligibility area, even
                        though there were concerns in other areas of need.
               iii.     Several students had concerns in the area of
                        social/emotional/behavioral, including behavioral concerns
                        noted in the review of existing evaluation data. Evaluations
                        listed were for observations only.
               iv.      A couple students required further
                        evaluations/documentation, however these were not sought
                        and the students were found ineligible.
 Conclusions:
 Issue #1
 1.      In conducting the evaluation, the public agency must use a variety
         of assessment tools and strategies to gather relevant functional,
         developmental, and academic information about the child, including
         information provided by the parent that may assist in determining
         whether the child is a child with a disability under § 300.8. The
         public agency must also not use any single measure or assessment
         as the sole criterion for determining whether a child is a child with a
         disability and for determining an appropriate educational program
         for the child. 34 CFR § 300.304(b).
 2.      Districts are required to have in place policies and procedures to
         locate, identify and evaluate all students with disabilities. "Child
         find" is the affirmative, ongoing obligation of states and local
         districts to identify, locate, and evaluate all children with disabilities
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         residing within the jurisdiction who are in need of special education
         and related services 34 CFR § 300.111(a)(1)(i).
 3.      Assessment tools the District must provide includes medical
         services, which are "services provided by a licensed physician to
         determine a child's medically related disability that results in the
         child's need for special education and related services." 34 CFR §
         300.34(c)(5).
 4.      According to the US Department of Education, “Services required
         under Part B may include medical services provided by a licensed
         physician to determine whether a child has a medically related
         disabling condition which results in the child's need for special
         education and related services. If a public agency believes that a
         medical evaluation by a licensed physician is needed as part of the
         evaluation to determine whether a child suspected of having
         attention deficit [hyperactivity] disorder meets the eligibility criteria
         of the other health impairment category, the school district must
         ensure that this evaluation is conducted and is at no cost to the
         parents. If a State requires that a medical evaluation be included as
         part of all evaluations for eligibility determination for the other
         health impairment category, it must also ensure that any necessary
         evaluations by other professionals are also conducted and
         considered as part of the eligibility determination process.” Letter to
         Parker, 18 IDELR 963 (OSEP 1992).
 5.      According to the Sixth Circuit, a petitioner needs to prove that the
         school district "overlooked clear signs of disability" and were
         negligent in failing to order testing, or that there was "no rational
         justification for failing to evaluate." Bd. of Educ. of Fayette County,
         Kentucky v. L.M., 47 IDELR 20122 (6th Cir. 2007), at para. 1, cert.
         denied, 110 LRP 48155, 128 S. Ct. 693 (2007) (citing Clay T. v.
         Walton County Sch. Dist., 952 F.Supp. 817, 823 (M.D.Ga.1997)).
 6.      Districts may not require every student who has or is believed to
         have a disability to undergo a medical assessment. However, when
         a medical assessment is required, the district, not the parents, is
         responsible for arranging and paying for the assessment under the
         IDEA. Analysis and Comments, 71 Fed. Reg. 46,550 through 73
         Fed. Reg. 46,551 (2006); and Letter to Veir, 20 IDELR 864 (OCR
         1993).
 7.      Emotional impairment shall be determined through a manifestation
         of behavioral problems primarily in the affective domain, over an
         extended period of time, which adversely affects the student’s
         education to the extent that the student cannot profit from learning
         experiences without special education support. The problems result
         in behaviors manifested by one or more of the following
         characteristics: Inability to build or maintain satisfactory
         interpersonal relationships within the school environment;
         inappropriate types of behavior or feelings under normal
         circumstances; general pervasive mood of unhappiness or

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         depression; tendency to develop physical symptoms or fears
         associated with personal or school problems. R 340.1706(1).
 8.      An emotional impairment includes students who, in addition to the
         characteristics specified in this rule, exhibit maladaptive behaviors
         related to schizophrenia or similar disorders. Emotional impairment
         also does not include persons who are socially maladjusted, unless
         it is determined that the persons have an emotional impairment. R
         340.1706(2).
 9.      Emotional impairment does not include students whose behaviors
         are primarily the result of intellectual, sensory, or health factors.
         R340.1706(3).
 10.     When evaluating a student suspected of having an emotional
         impairment, the multidisciplinary evaluation team report shall
         include documentation of all of the following: (a) The student’s
         performance in the educational setting and in other settings, such
         as adaptive behavior within the broader community. (b) The
         systematic observation of the behaviors of primary concern which
         interfere with educational and social needs. (c) The intervention
         strategies used to improve the behaviors and the length of time the
         strategies were utilized. (d) Relevant medical information, if any. R
         340.1706(4).
 11.     A determination of an emotional impairment shall be based on data
         provided by a multidisciplinary evaluation team, which shall include
         a full and individual evaluation by a psychologist or psychiatrist and
         a school social worker. R 340.1706(5).
 12.     Other health impairment means having limited strength, vitality, or
         alertness, including a heightened alertness to environmental
         stimuli, which results in limited alertness with respect to the
         educational environment and to which both of the following
         provisions apply:
         a.      Is due to chronic or acute health problems such as any of the
                 following: asthma, attention deficit disorder, attention deficit
                 hyperactivity disorder, diabetes, epilepsy, a heart condition,
                 hemophilia, lead poisoning, leukemia, nephritis, rheumatic
                 fever, and sickle cell anemia.
         b.      The impairment adversely affects a student’s educational
                 performance. R 340.1709a(1)(a)(b).
 13.     A determination of disability shall be based upon a full and
         individual evaluation by a multidisciplinary evaluation team, which
         shall include 1 of the following persons: an orthopedic surgeon, an
         internist, a neurologist, a pediatrician, or a family physician or any
         other approved physician as defined in the Michigan Public Health
         Code. R 340.1709a(2).
 14.     Upon completion of the assessments and evaluations for a student
         suspected of a disability, a group of qualified professionals and the
         parent of the student determines whether the student is a student
         with a disability. 34 CFR § 300.306(a)(1).

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 15.     The US Department of Education further opined, “We want to
         correct your assumption that Part B requires that a particular child
         accept a particular label in order to be eligible for and receive
         required special education and related services. The entitlement
         under Part B is the entitlement of each eligible child with a disability
         to FAPE and not to a particular label, such as specific learning
         disability, serious emotional disturbance, other health impairment,
         or any other eligible disability category under Part B. Rather, the
         child's IEP, which must reflect the child's educational needs, which
         forms the basis for the placement decision, and not the category of
         the child's disability.” Letter to Williams, 21 IDELR 73 (OSEP 1994).
 16.     Whether goals and objectives are required in a student's IEP for
         transportation provided as a related service depends on the purpose
         of the transportation. If transportation is being provided solely to
         enable the student to travel to and from school, in and around
         school, and between schools, no goals or objectives are needed. If,
         however, instruction will be provided to enable the student to
         increase his or her independence or improve his or her behavior or
         socialization during travel, then goals and objectives must be
         included in the student's IEP to address the individual student's
         need to increase independence or improve behavior or socialization.
         Letter to Smith, 23 IDELR 344 (OSEP 1995).
 17.     Regarding the Student and Child Find:
         a.     The standards used by the District in the emotional
                impairment and other health impairment eligibility areas were
                consistent with the IDEA and the MARSE.
         b.     The evaluation conducted on November 9, 2016, was not
                comprehensive because the evaluation plan for the
                social/emotional/behavioral area included only an observation.
                According to the MARSE, a determination of impairment shall
                be based on data obtained from the evaluation. Once the
                District agreed to evaluate the Student for a suspected
                disability, the District had the responsibility to ensure that it
                fully assessed the Student in all areas of suspected need
                before the evaluation was completed. Another evaluation
                should have been conducted for the
                social/emotional/behavioral area in order to obtain data, such
                as a behavior rating scale, given the behavioral history of the
                Student, which was known by the staff in the building given
                that the Student attended school in that building beginning in
                February 2016.
         c.     Furthermore, the Student had behavioral concerns and was
                experiencing behavioral difficulties on the school bus, which
                were not referred to in the review of existing evaluation data
                nor the multidisciplinary evaluation team report. As indicated
                above by OSEP, as the Student was experiencing behavioral
                difficulties on the bus, this information should have been in

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               the background information for the Student and been part of
               the consideration in regard to impact on
               education/instructional needs.
         d.    The four observations (two per staff) conducted for the
               Student were completed during classroom instruction, which
               is considered a structured setting. No observations were done
               in an unstructured setting, even though the teacher indicated
               the Student struggled with behavior during those settings. At
               least one observation per staff should have been conducted in
               an unstructured setting in order to gain a more balanced and
               accurate view of the Student's overall behavioral functioning.
 18.     Regarding the thirteen files reviewed for Child Find, the following
         was found:
         a.    The standards used by the District for all eligibility areas
               reviewed were consistent with the IDEA and the MARSE, even
               though some were not applied correctly.
         b.    Four evaluations were comprehensive.
         c.       Nine evaluations were not comprehensive for the following
                  reasons (see conclusion numbers 18d - h) :
         d.       For several students, only one eligibility area was considered,
                  even though there were concerns across multiple areas. A
                  school district must look at multiple eligibility areas to ensure
                  the student is assessed in all areas of need.
         e.       For some students, evaluations for social/emotional/behavioral
                  area included only observations. An actual evaluation, such as
                  a behavior rating scale, should have been conducted in order
                  to obtain more accurate information related to the underlying
                  causes behind a students behavior.
         f.       For one student, conflicting information in the specific learning
                  disability section stated that the student exhibited a pattern of
                  strengths and weaknesses, however, the determination still
                  said "false" in the eligibility standards. This speaks to a lack of
                  understanding about the wording on the forms and how to
                  make a correct determination.
         g.       For a couple of students, further evaluations/documentation
                  was needed in order to make a determination. These students
                  were then found ineligible rather than seeking to obtain the
                  evaluations/documentation. School districts cannot shift their
                  burden to arrange for a disability diagnosis onto a parent or
                  fail to complete a full and comprehensive evaluation as they
                  are required to provide the evaluations necessary to fulfill their
                  Child Find responsibilities.
         h.       Of the nine evaluations that were not comprehensive, three
                  students were found eligible and six students were not found
                  eligible.
 19.      For the purposes of removals of a child with a disability from the
          child’s current educational placement under 34 CFR §§ 300.530

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         through 300.535, a change of placement occurs if, the removal is
         for more than 10 consecutive school days; or the child has been
         subjected to a series of removals that constitute a pattern because
         the series of removals total more than 10 school days in a school
         year; because the child’s behavior is substantially similar to the
         child’s behavior in previous incidents that resulted in the series of
         removals; and because of such additional factors as the length of
         each removal, the total amount of time the child has been removed,
         and the proximity of the removals to one another. 34 CFR §
         300.536(a).
 20.     The public agency determines on a case-by-case basis whether a
         pattern of removals constitutes a change of placement. 34 CFR §
         300.536(b)(1).
 21.     The District utilizes several different forms to document behavioral
         referrals for all students. The District also has a worksheet for
         determining patterns of removal based upon the behavioral referral
         documentation utilized within the District. According to the District,
         there is a process in place to record all this information and a team
         has been established to consider the information as well.
 22.     Within 10 school days of any decision to change the placement of a
         student with a disability because of a violation of a code of student
         conduct, the district, the parent and relevant members of the
         student’s IEP team must review all relevant information in the
         student’s file, including the student’s IEP, any teacher observations,
         and any relevant information provided by the parents to determine
         if the conduct in question had a direct and substantial relationship
         to the student’s disability or if the conduct in question was the
         direct result of the district’s failure to implement the individualized
         education program. 34 CFR § 300.530(e)(1)(i).
 23.     If relevant members of the IEP Team and the parent make the
         determination that the conduct was a manifestation of the student's
         disability, the IEP Team must either conduct or review a functional
         behavioral assessment and implement a behavioral intervention
         plan for the student; or review the current behavioral intervention
         plan and modify it, as necessary, to address the behavior; and
         return the student to the placement from which the student was
         removed, unless the parent and the LEA agree to a change of
         placement as part of the modification of the behavioral intervention
         plan. 34 CFR § 300.530(f).
 24.     The manifestation determination review conducted May 15, 2017
         did not include a review of the behavior intervention plan, as no
         behavior intervention plan revised on that date was submitted by
         the District.
 25.     Furthermore, a review of the IEP dated May 15, 2017 and several
         testimonies indicated that the placement of the Student was
         changed by the administrative staff of the District, without
         agreement from the Parent and that the Student was placed on a

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         reduced schedule rather than returning him to the placement he
         was removed from.
 26.     An IEP is "a written statement for each child with a disability that is
         developed, reviewed, and revised in a meeting in accordance with
         34 CFR §§ 300.320 through 300.324." 34 CFR § 300.22.
 27.     A free appropriate public education (FAPE) means special education
         and related services that are provided in conformity with an IEP. 34
         CFR § 300.17.
 28.     Among other requirements, an IEP must include a statement of the
         child's current educational performance, articulate measurable
         educational goals, and specify the nature of the special services that
         the district will provide. 34 CFR § 300.320(a).
 29.     Special education is defined as specially designed instruction
         intended to meet the unique needs of a child with a disability that
         can include vocational education. 34 CFR § 300.39(a).
 30.     The IEP describes the child's individual needs and describes the
         proper placement and services designed to meet those unique
         needs. Schaffer v. Weast, 44 IDELR 150 (U.S. 2005).
 31.     An IEP shall include a statement of measurable annual goals and
         short-term objectives. 34 CFR § 300.320(a)(2)(i) and R
         340.1721e(1)(a).
 32.     Supplementary aids and services must be described in terms of
         frequency, location and duration. 34 CFR § 300.320(a)(7).
 33.     The 2006 Federal Register (Regulations), Analysis of Comments and
         Changes was reviewed, relative to 34 CFR § 300.320(a)(7). At page
         46667 it states, in part: “What is required is that the IEP include
         information about the amount of services that will be provided to
         the child, so that the level of the agency’s commitment of resources
         will be clear to parents and other IEP Team members.”
 34.     The IEP team is required to determine programs and services for a
         student with a disability. R 340.1721e(4).
 35.     The public agency is required to ensure the placement decision is
         made by a group of persons, including the parent or other persons
         knowledgeable about the student and the placement decision. 34
         CFR § 300.116.
 36.     Each public agency must ensure that students with disabilities, to
         the maximum extent appropriate, are educated with nondisabled
         students and that removal of students with disabilities from the
         regular educational environment occurs only if the nature or severity
         of the disability is such that education in regular classes with the
         use of supplementary aids and services cannot be achieved
         satisfactorily. 34 CFR § 300.114(a)(2).
 37.     A review of the May 15, 2017 IEP indicated:
         a.     Neither annual goal listed in the IEP is measurable because
                the criteria listed in the annual goal does not match the
                criteria listed in the short-term objectives. The second annual
                goal and benchmarks contain wording that asks the Student

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                to express his emotions in an “appropriate way.” This is not a
                measurable skill.
         b.     The supplementary aids and services do not include any
                specific information concerning the frequency of how often or
                when the accommodations and modifications should be
                implemented for the Student. This makes it difficult to
                determine how well each accommodation and modification is
                working and what type of adjustments should be made to
                assist the Student in being successful in school. Without this
                specific detail, it is difficult to see any connection between the
                supplementary aids and services and the Student’s success in
                school. Subsequently, when the Student’s behaviors continued
                after the April 26, 2017 IEP, rather than making changes to
                the Student’s supplementary aids and services in response,
                consistent with the least restrictive environment provision
                from the IDEA, the District reduced the Student’s school day.
                While the District did increase the number of consultative
                teacher consultant sessions per month, this was offset by the
                Student’s inability to access his educational programming. In
                order for the supplementary aids and services to provide
                support for the Student, they need to be written so they can
                be measured, thereby assisting the IEP team in determining
                any changes that need to be made so the Student can be
                successful.
         c.     The placement of the Student was changed during the
                manifestation determination review by the administrative staff
                without agreement from the Parent.
         d.     A student with this level of need requires direct, individualized
                instruction. The emotional impairment consultant consultative
                services do not provide the Student the level of specialized
                instruction necessary for him to receive educational benefit.
 Issue #2
 38.     The public agency must obtain informed parental consent before
         conducting an initial evaluation. 34 CFR § 300.300(a)(1)(i).
 39.     A review of the documentation and interviews with the District and
         the Complainant/Parent indicated:
         a.     When the Complainant requested documentation from the
                District, the review of existing evaluation data form containing
                the consent for the Behavior Assessment System for Children,
                second edition evaluation was not included in the
                documentation. It is unclear why the District did not include
                this document in their submission to the Complainant if it
                actually existed. When asked about whether the Parent
                provided consent, a team member listed as a participant was
                unable to verify that consent had been provided.
 40.     According to the Sixth Circuit, the Rowley Court established a
         two-part test to decide whether a FAPE was provided: (a) Has the

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        state (i.e. public agency) complied with the procedures set forth in
        the IDEA; and (b) Is the IEP developed through the IDEA’s
        procedures reasonably calculated to enable the child to receive
        educational benefit. The Supreme Court ruled that if the two-part
        test is satisfied, then courts can expect no more. Nack ex rel. Nack
        v. Orange City Sch. Dist.,454 F.3d 604, 614 (6th Cir. 2006) (citing
        Board of Education of the Hendrick Hudson Cent. Sch. Dist. V.
        Rowley, 553 IDELR 656 (1982). The U.S. Supreme Court recently
        clarified the standard for an appropriate IEP, stating "[t]o meet its
        substantive obligation under the IDEA, a school must offer an IEP
        reasonably calculated to enable a child to make progress
        appropriate in light of the child's circumstances." Endrew F. v.
        Douglas County Sch. Dist. RE-1, 69 IDELR 174 (U.S. 2017).
 41.    The Court explained that this requirement [for a substantively
        adequate program of education] is satisfied, and a child has
        received a FAPE, if the child’s IEP sets out an educational program
        that is “reasonably calculated to enable the child to receive
        educational benefits.” For children receiving instruction in the
        regular classroom, this would generally require an IEP “reasonably
        calculated to enable the child to achieve passing marks and advance
        from grade to grade.” Endrew F. v. Douglas County Sch. Dist. RE-1,
        69 IDELR 174 (U.S. 2017) (citing Hendrick Hudson Dist. Bd. of
        Educ. v. Rowley, 458 U.S. 176 (1982)).
 42.    The initial evaluation completed on November 9, 2016, was not
        comprehensive and the Student was removed for 49 days overall
        throughout the school year. Both of these violations impacted the
        overall ability of the Student to receive a FAPE.
 Decision:
 1.     Whether the District provided the Student a free appropriate public
        education (FAPE) pursuant to 34 CFR §§300.17 and 300.101.
        Specifically:
        a.     Whether the District enacted their Child Find obligation, to locate,
               identify, and evaluate students suspected of a disability for this
               Student, in accordance with 34 CFR §§ 300.111, 300.304 through
               300.311 and R 340.1721a; and
        The OSE determines a violation. The District did not conduct a
        comprehensive Child Find evaluation in November 2016.
               i.     For all similarly situated students within the District.
        The OSE determines a violation. Of the 13 Child Find evaluations
        reviewed for this complaint, nine of the evaluations were not
        comprehensive. Of those nine evaluations, six of the students were
        not found eligible.
        b.    Whether the District implemented the discipline protections,
              pursuant to 34 CFR §§ 300.530 and 300.536, for this Student;
              and
        The OSE determines a violation. The manifestation determination
        review changed the placement of the Student without agreement
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        of the Parent. There is also is no indication that the behavior
        intervention plan was reviewed and revised.
              i.    For all similarly situated students within the District.
        The District has a process in place to track the removals for
        students who have been removed due to behaviors. There is no
        violation.
        c.     Whether the District, in collaboration with the Parent, developed,
               reviewed, and revised an individualized education program (IEP)
               that addressed the unique educational and behavioral needs of the
               Student in an IEP team meeting, consistent with 34 CFR §§
               300.116(a), 300.320 through 300.324, 300.501(c), and R
               340.1721e.
        The OSE determines a violation. The IEP dated April 26, 2017, did
        not meet the unique educational needs of the
        Student.<br><br>Overall, in regard to a FAPE, the above
        violations rise to the level of a denial of a FAPE as the ability of the
        Student to receive educational benefit was impacted.
 2.     Whether the District followed the procedures and processes required by
        the IDEA and the MARSE. Specifically:
        a.     Whether the District obtained informed consent from the Parent
               prior to conducting the initial evaluation to determine if the
               Student was a student with a disability, in accordance with 34 CFR
               § 300.300(a) and R 340.1721.
        The OSE determines a violation. There is no indication that consent
        was provided prior to the Behavior Assessment System for
        Children, second edition evaluation being conducted.

 Student Level Corrective Action Plan:
 1.   By October 15, 2017, the District must conduct a review of existing
      evaluation data and request parent consent to complete a functional
      behavior assessment of the Student. The functional behavior
      assessment must be conducted by an individual who is qualified and
      pre-approved by the OSE.
      a.     Once the functional behavior assessment has been completed, the
             District must review and revise the behavior intervention plan
             taking into consideration the findings from the functional behavior
             assessment.
      b.     By November 15, 2017, the District must submit a copy of the
             completed functional behavior assessment and behavior
             intervention plan.
 2.   Conduct an IEP team meeting for the purpose of revising the Student's
      IEP consistent with the conclusions identified in this decision, that
      includes:
      a.     A present level statement that accurately reflects the Student’s
             academic achievement and functional performance, including how
             the Student’s disability affects the Student’s involvement and
             progress in the general education curriculum, including information

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               from the functional behavior assessment and the behavior
               intervention plan.
        b.     Measurable annual goals and short-term objectives/benchmarks
               designed to meet the Student’s needs that result from the
               disability to enable the Student to be involved in and make
               progress in the general education curriculum.
        c.     Identification of the special education and related services and
               supplementary aids and services to be provided to the Student,
               including a clear description of the frequency and duration of the
               supplementary aids and services and specialized instruction to be
               delivered to the Student.
        d.     The behavior intervention plan must be addressed in the IEP.
        e.     Documentation for the newly-revised IEP shall be provided to the
               OSE by November 30, 2017, and will include copy of the:
               a. IEP invitation;
               b. IEP; and
               c. Written notice of the District’s offer of a FAPE.
 3.     In collaboration with the Parent, the members of the IEP team, the
        District must develop a plan for providing 49 hours of compensatory
        services to address the Student’s social-emotional/behavioral and/or
        academic needs. The plan could include participation in supervised
        group programs and/or activities with same age peers that provide the
        Student with the opportunity to work on social-emotional/behavioral
        and/or academic skills. Services provided are to be in addition to the
        regular school day and the requirements of the current IEP. The
        programs and activities can be directly provided by the District, or
        through private organizations, or agencies; however, they must be paid
        for by the District.
        a.     A copy of the plan must be provided to the OSE by October 15,
               2017.
        b.     Compensatory services must be delivered by August 1, 2018.
        c.     Documentation for compensatory services provided to the Student
               shall be provided to the OSE by August 15, 2018, and will include:
               a. A copy of the receipt(s) for services provided if a contractor is
               used.
               b. Service provider logs for the compensatory services indicating
               the dates, starting and ending times, length of sessions.
               c. If the Student is absent on a scheduled day, this session does
               not need to be made up. Any staff absences require a make-up
               session.
               d. Transportation logs or reimbursement receipts (if applicable).

 Corrective Action Plan:
 1.   By December 1, 2017, in collaboration with the ISD, develop, review or
      revise the District’s written procedures to ensure that, for this and all
      students, the District implements the provision of the IDEA and the MARSE
      specific to the areas of noncompliance listed above regarding:
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        a.      Provision of a comprehensive evaluation for all students suspected of
                a disability;
        b.      Requirements regarding manifestation determination reviews and
                changes in placement;
        c.      Developing an IEP that addresses a student's unique educational and
                behavioral needs; and
        d.      Obtaining prior consent for evaluations.
 2.     For all six students identified under separate cover to the District:
        a.      By September 30, 2017, with agreement from the parent(s), convene
                a review of existing evaluation data for each student to accurately
                identify all the assessments appropriate for the evaluation of the
                student.
        b.      Complete the following activities maintaining legal timelines for each:
                i.      Seek consent from the parent(s) to conduct the evaluation(s) as
                        determined by the review of existing evaluation data;
                ii.     Provide prior written notice to the parent(s) for the
                        evaluation(s);
                iii.    Conduct the evaluations after consent is given by the parent(s);
                iv.    Conduct a multidisciplinary evaluation team meeting to make
                       recommendations for all eligibility areas under consideration;
                       and
                v.     Conduct an IEP team meeting within 30 school days of receiving
                       consent from the parent(s) and determine whether or not the
                       student is eligible, consistent with R 340.1721b(1).
 3.     By April 15, 2018, the District must provide professional development for
        all relevant staff regarding the new procedures.
 4.     Evidence of change in the District's practice for district level corrective
        action must be provided and verified by the OSE through the Continuous
        Improvement Monitoring System (CIMS). This corrective action will appear
        in the October 2017 workbook.



 Evidence of timely compliance and required submissions for Corrective Action
 Plans and Student Level Corrective Action Plans must be documented in
 Catamaran. Please direct questions regarding this complaint investigation to
 Joanne Winkelman at 517-335-0457 or winkelmanj@michigan.gov, and any
 questions regarding the corrective action to Harmonee Costello at 517-241-7082
 or costelloh1@michigan.gov. All correspondence should be clearly marked as
 pertaining to case 17-0159.

 Joanne Winkelman, Ph.D., Supervisor
 Program Accountability
 Office of Special Education


 cc:         Cindy Green
             Laurie Montgomery
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          David Campbell
          Mindy Miller
          Miranda Hall




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